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                      SUMMONS IN A CIVIL ACTION
    UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
   DONALD J. TRUMP FOR PRESIDENT, INC.,
                                                                       1:20-CV-1083
 MATTHEW SEELY, ALEXANDRA SEELY, PHILIP
   O'HALLORAN, ERIC OSTERGREN, MARIAN                              Janet T. Neff
SHERIDAN, MERCEDES WIRSING, and CAMERON                    Intervenor-Defendant City of Detroit
                      TARSA
                                                           Darryl Bressack
   JOCELYN BENSON, in her official capacity as             38500 Woodward Ave., Suite 350
Michigan Secretary of State, MICHIGAN BOARD OF             Bloomfield Hills, MI 48304
     STATE CANVASSERS, WAYNE COUNTY,                       dfink@finkbressack.com
  MICHIGAN, and WAYNE COUNTY BOARD OF
            COUNTY CANVASSERS




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                       Intervenor-Defendant City of Detroit




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                      SUMMONS IN A CIVIL ACTION
    UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
   DONALD J. TRUMP FOR PRESIDENT, INC.,
                                                                                                                                    1:20-CV-1083
 MATTHEW SEELY, ALEXANDRA SEELY, PHILIP
   O'HALLORAN, ERIC OSTERGREN, MARIAN                                                                                       Janet T. Neff
SHERIDAN, MERCEDES WIRSING, and CAMERON                                                                    Intervenor-Defendants Michigan Democratic Party and Democratic National Committee

                      TARSA
                                                                                                           Scott R. Eldridge
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  MICHIGAN, and WAYNE COUNTY BOARD OF                                                                      eldridge@millercanfield.com
            COUNTY CANVASSERS




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                       Intervenor-Defendants Michigan Democratic Party and Democratic National Committee




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                      SUMMONS IN A CIVIL ACTION
    UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
   DONALD J. TRUMP FOR PRESIDENT, INC.,
                                                                                                                                 1:20-CV-1083
 MATTHEW SEELY, ALEXANDRA SEELY, PHILIP
   O'HALLORAN, ERIC OSTERGREN, MARIAN                                                                                    Janet T. Neff
SHERIDAN, MERCEDES WIRSING, and CAMERON                                                                 Intervenor-Defendants Michigan State Conference NAACP, Wendell Anthony, et al.

                      TARSA
                                                                                                        Eugene Driker and Stephen E. Glazek
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            COUNTY CANVASSERS                                                                           sglazek@bsdd.com




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                       Intervenor-Defendants Michigan State Conference NAACP, Wendell Anthony, et al.




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